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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAMON JIMENEZ,
                     Plaintiff,                                  CIVIL ACTION

              v.

BEST BEHAVIORAL
HEALTHCARE, INC. et al.,                                         No. 18-1003
              Defendants.


                                          ORDER

       AND NOW, this 4th day of June, 2019, upon consideration of Ramon Jimenez's Motion

for Summary Judgment (Doc. No. 21), the Defendants' Response thereto (Doc. No. 27), Mr.

Jimenez's Reply in Support of his Motion for Summary Judgment (Doc. No. 29), the Defendants'

Motion for Partial Summary Judgment (Doc. No. 22), the Defendants' Amended Motion for

Summary Judgment (Doc. No. 26), Mr. Jimenez's Response thereto (Doc. No. 28), the

Defendants' Reply in Support of their Motion for Summary Judgment (Doc. No. 30), and the oral

argument held on January 18, 2019, it is ORDERED that:

   1) Ramon Jimenez's Motion for Summary Judgment (Doc. No. 21) is GRANTED, and Mr.

       Jimenez is entitled to back pay damages of $8,170.75 for his FLSA claim;

   2) the Defendants' Amended Motion for Summary Judgment (Doc. No. 26) is DENIED; and

   3) the Defendants' Motion for Partial Summary Judgment (Doc. No. 22) is DEEMED

       MOOT.
